              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
           CRIMINAL CASE NO. 2:13-cr-00009-MR-DLH-14



UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                           ORDER
                                )
                                )
CHAD KEITH SHULER,              )
                                )
                   Defendant.   )
_______________________________ )

      THIS MATTER is before the Court on the Defendant’s “Motion for

Reconsideration of Reduction Pursuant to 18 U.S.C. § 3582 and Amend 782”

[Doc. 490].

      Upon review of the Defendant’s motion, the Court finds no basis in law

to reconsider its prior Order.

      Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

“Motion for Reconsideration” [Doc. 490] is DENIED.

      IT IS SO ORDERED.
                                 Signed: November 2, 2015




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